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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


JAIMIE POTTS, KIM MILESZKO,                 Honorable Freda L. Wolfson, U.S.D.J.
CHRISTINA LUKA, and REBECA
GONZALEZ, individually and on behalf of all
others similarly situated,                  Civil Action No.: 3:20-cv-10406-FLW-LHG

               Plaintiffs,

       vs.                                             STIPULATION OF DISMISSAL
                                                            WITH PREJUDICE
JOHNSON & JOHNSON CONSUMER INC.,
a New Jersey corporation and DOES 1-50,
inclusive,

               Defendant.



       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs Jaimie Potts, Kim

Mileszko, Christina Luka, and Rebeca Gonzalez and Defendant Johnson & Johnson Consumer

Inc., by and through their undersigned counsel, hereby stipulate that this action is dismissed with

prejudice. All parties shall bear their own attorneys’ fees, costs, and expenses and waive all

rights of appeal.

Dated: December 22, 2021


CARLTON FIELDS, P.A.                                 BROWN, LLC

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